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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


                                                             Case No. 17-cv-11850

PLASTIC SURGERY ASSOCIATES, S.C.,                            Hon. Denise J. Casper
a Wisconsin corporation, et al.,


       Plaintiffs,

v.


CYNOSURE, INC., a Delaware corporation,

                        Defendant.




              MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANT


        NOW COMES Attorney Tamar Lanuza Hagopian, and hereby requests that this

Honorable Court enter an Order granting her leave to withdraw as counsel for Defendant,

Cynosure, Inc. (hereinafter, “Defendant”). In support thereof, Attorney Hagopian states:

       1. Attorney Hagopian appeared in the above-captioned consolidated cases as counsel for

           Defendant;

       2. Attorney Hagopian’s appearance in this matter is no longer required;

       3. Granting the instant motion will not cause prejudice to the Court or to any party, and

           Defendant will have legal representation at all times in this matter, including local

           counsel.
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       WHEREFORE, Attorney Tamar Lanuza Hagopian respectfully requests that this

Honorable Court enter an Order granting her leave to withdraw as counsel for Defendant

Cynosure, Inc.


                                              Respectfully submitted,


                                                      /s/ Tamar Lanuza Hagopian    ___
                                              Tamar Lanuza Hagopian, BBO #665538
                                              Litchfield Cavo, LLP
                                              6 Kimball Lane, Suite 200
                                              Lynnfield, MA 01940
                                              (781) 309-1500
                                              hagopian@litchfieldcavo.com

                                              Counsel for Defendant Cynosure, Inc.

Dated: May 15, 2018




                                 CERTIFICATE OF SERVICE

       I, Tamar Lanuza Hagopian, hereby certify that on this 15th day of May, 2018, the
foregoing document, filed through the CM/ECF System, will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies
will be sent to those indicated as non-registered participants.

                                                    /s/ Tamar Lanuza Hagopian
                                              Tamar Lanuza Hagopian
